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   1                     UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK
   2    - - - - - - - - - - - - - X
         UNITED STATES OF AMERICA,     :   09-CR-00466(BMC)
   3                                   :
                                       :
   4                                   :   United States Courthouse
               -against-               :   Brooklyn, New York
   5                                   :
                                       :
   6                                   :   February 11, 2019
                                       :   9:30 a.m.
   7     JOAQUIN ARCHIVALDO GUZMÁN     :
         LOERA,                        :
   8                                   :
                 Defendant.
   9    - - - - - - - - - - - - - X

  10                 TRANSCRIPT OF CRIMINAL CAUSE FOR TRIAL
                      BEFORE THE HONORABLE BRIAN M. COGAN
  11                UNITED STATES DISTRICT JUDGE, and a jury.

  12
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                                  Official Court Reporter
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   1                                       A P P E A R A N C E S: (Continued.)

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  25   P r o c e e d i n g s r e c o r d e d b y c o m p u t e r i z e d s t e n o g r a p h y.   Transcript
       p r o d u c e d b y C o m p u t e r- a i d e d T r a n s c r i p t i o n.

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   1               (In open court; jury not present.)

   2               (Defendant enters the courtroom 3:15 p.m.)

   3               THE COURTROOM DEPUTY:            All rise.

   4               THE COURT:    Have a seat, please.

   5               Okay.   We have three notes from the jury.              The first

   6   one says two things:      First, it says:             Can we please have the

   7   testimony of Scott Schoonover?

   8               We've marked that as Court Exhibit 13.

   9               (Court's Exhibit 13 received in evidence.)

  10               THE COURT:    It then goes on to say:             Can we please

  11   leave at 4:15?

  12               Court Exhibit 14 is:             We are requesting Cliffton

  13   Harrison's testimony.

  14               (Court Exhibit 14 received in evidence.)

  15               THE COURT:    I understand the parties have pulled

  16   together the testimony of those two witnesses and we are going

  17   to read it to the jury; is that right?

  18               MR. PURPURA:     That's correct.

  19               MS. PARLOVECCHIO:         Yes, Your Honor.        We have pulled

  20   it together.    We are also fine with sending it back to the

  21   jury if that would expedite things since there's less than an

  22   hour left to the day.

  23               MR. PURPURA:     Whatever the Court decides, obviously,

  24   would be appropriate, but if you are going to send it back, I

  25   would ask the Court again to instruct the jury the same way


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   1   you instructed the jury on the first time; they should give no

   2   greater weight to this than the other evidence.

   3               THE COURT:    Okay.       I will remind them of that.       It's

   4   about 15 to 20 pages, as I understand it, each witness, which

   5   probably means about 20 minutes of reading.                It's right on the

   6   border, really.

   7               MR. LICHTMAN:      Judge, I would ask -- I think you had

   8   mentioned last week that if it was up to an hour, you would

   9   read it back.     It's only going to be --

  10               THE COURT:    I don't recall saying that.            That seems

  11   a bit long for me, but if you want me to read it to them, we

  12   will.

  13               MR. LICHTMAN:      I would rather.

  14               THE COURT:    Okay.

  15               Now, the harder question that you don't know about

  16   is Court Exhibit 15, which says:               Does a violation have to be

  17   proven or not proven unanimously?

  18               (Court Exhibit 15 received in evidence.)

  19               THE COURT:    How would the parties like me to answer

  20   that?   I think the Government's turn.

  21               MS. PARLOVECCHIO:         Your Honor, at least three of

  22   them must be proven unanimously.

  23               MR. PURPURA:     Violations must be proven unanimously

  24   beyond a reasonable doubt.          You can even say all 12 -- to make

  25   it simple, all 12 must agree to a violation.


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   1               MR. LICHTMAN:      Any violation.

   2               MS. PARLOVECCHIO:         Your Honor, I think it's in the

   3   jury instructions.     Perhaps it would just be easier between

   4   the parties, since we've already agreed to the jury

   5   instructions, to direct their attention to the particular

   6   portion of the jury instructions that addresses this issue.

   7               THE COURT:    Yes.      I think that's the thing to do.

   8   It is in there.     I think there's some chance that they're

   9   unsure whether they have to agree on all 27 of Count One,

  10   because I'm not sure the instructions expressly told it.               They

  11   did, by implication, that in order to convict on Count One,

  12   they have to unanimously agree on Three; and the implication

  13   being they don't have to unanimously agree on the others if

  14   they agree on Three.      But I think the better course is to

  15   refer them back to the instructions where we did define this.

  16               Does anyone have the page number where that would

  17   be?   Let's take a look before we bring them in.

  18               MS. PARLOVECCHIO:         We can take a look, Your Honor.

  19               THE COURT:    Okay.

  20               MS. PARLOVECCHIO:         Your Honor, this is addressed in

  21   the jury instructions on the penultimate paragraph of page 49

  22   through the first paragraph on the top of page 50.

  23               MR. PURPURA:     Page 49?          I'm sorry.

  24               MS. PARLOVECCHIO:         Yes, starting at the bottom of

  25   page 49 through the top of page 50.                So starting with "respect


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   1   to the second element of Count One."

   2               THE COURT:    Yes, that's it.

   3               Defense agrees?

   4               MR. PURPURA:     One second, Your Honor, please.

   5               THE COURT:    Okay.

   6               MR. BALAREZO:      Were was it again?

   7               THE COURT:    The incomplete paragraph at the bottom

   8   of page 49 continuing on to page 50.

   9               MR. PURPURA:     It's obvious -- it's acceptable, yes.

  10               THE COURT:    Okay.

  11               All right.    Let's bring the jury in, please.

  12               You should sit.         It's going to take a while to line

  13   them up.

  14               (Pause.)

  15               MS. PARLOVECCHIO:         Your Honor, just briefly, in

  16   regards to the instruction Your Honor is going to read to the

  17   jury, we would also request that we read --

  18               THE COURT:    Oh, I'm not going to read it to them.

  19               MS. PARLOVECCHIO:         Oh, you're not.      You are just

  20   going to direct --

  21               THE COURT:    I'm just going to direct them to the

  22   page number.

  23               MS. PARLOVECCHIO:         Okay.      Because the paragraph

  24   before the last paragraph on the bottom of page 49 may also

  25   address the issue as to whether they have to find unanimously


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   1   in all 27 to the extent there's confusion about that.

   2               THE COURT:    Yes, I'm going to give both paragraphs.

   3               MR. PURPURA:     Your Honor, even though you are going

   4   to read to them, you will still give them the same general

   5   instruction you gave earlier on the first request?

   6               THE COURT:    Yes.

   7               (Jury enters 3:26 p.m.)

   8               THE COURT:    All right.           Everyone be seated.

   9               Hello there, ladies and gentlemen.             We have your

  10   three notes.    With regard to the testimony of Scott Schoonover

  11   and Cliffton Harrison, those are both fairly short, and since

  12   my preference is to read it to you when it's not too long, we

  13   are going to have the court reporters read it to you, so

  14   please listen carefully.        We'll start with the testimony of

  15   Scott Schoonover.

  16               (Record read.)

  17               THE COURT:    How many pages was that?          Let me ask the

  18   reporter.

  19               THE COURT REPORTER:          Twenty-two.

  20               THE COURT:    How long is the next witness?          How many

  21   pages?

  22               THE COURT REPORTER:          It's a little longer, Judge.

  23               THE COURT:    I think I'm going to send it back.

  24               I will remind you, ladies and gentlemen, whether you

  25   hear the testimony reread to you orally here in court or you


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   1   get a physical copy of the transcript, don't take out of

   2   context anything you hear here or bring back into the jury

   3   room with you.     You have got to evaluate the testimony as a

   4   whole and not give any particular weight to any one particular

   5   piece of evidence.     So we'll send that back in for you to

   6   have.

   7               In addition, you've asked a question of whether a

   8   violation has to be proven or not proven unanimously.            That

   9   question is answered in the instructions that you have.            I'm

  10   going to refer you to the last two paragraphs on page 49 that

  11   carry over onto the top of page 50 and that should answer that

  12   question for you.

  13               And then, lastly, we have your request that you

  14   again leave at 4:15 today.         That is, of course, fine.     I will

  15   take this opportunity to give you the usual admonitions about

  16   not communicating, staying away from media coverage, not

  17   posting anything about this, and keeping it out of your mind

  18   entirely until you are all back in the jury room tomorrow at

  19   9:30.   So from the time you leave, you stop talking about the

  20   case and you don't start talking until all 12 of you are back

  21   there again tomorrow morning.

  22               So have a good night.           Thanks again for your hard

  23   work.   We know this isn't easy and we appreciate it.

  24               Thank you.

  25               (Jury exits 3:48 p.m.)


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   1               THE COURT:    Okay.      Unless we get any other requests

   2   from the jury, we will stand in recess until tomorrow.

   3               MS. PARLOVECCHIO:        Thank you, Your Honor.

   4               MR. BALAREZO:     Thank you, Judge.

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   6               (Matter adjourned to February 12, 2019, at 9:30 a.m.)

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